Case 3:21-mc-00285-MEM Document 1-3 Filed 04/05/21 Page 1 of 14

EXHIBIT 2
Case 3:21-mc-00285-MEM Document 1-3 Filed 04/05/21 Page 2 of 14

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AMERICAN ARBITRATION ASSOCIATION

 

 

COMMERCIAL DIVISION
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STRAIGHT A COMPANY, LP, “$
: Case No.
Claimant, :
-against- : STATEMENT OF CLAIM
LA APPAREL, INC., :
Respondent.
Xx

Claimant Straight A Company, LP (“Straight A”), by and through its undersigned
attorneys, as and for its Statement of Claim against respondent LA Apparel, Inc., (“LA”), alleges

as follows:

INTRODUCTION

 

1. This arbitration arises out of the bad faith actions and inaction of respondent LA,
one of the two members of Concorde Apparel Company, L.L.C. (“Concorde,” or the
“Company”), a Delaware limited liability company with an address at 300 Brook Street,
Scranton, Pennsylvania. Concorde is engaged in the business of styling and marketing men’s
apparel products.

2. Claimant Straight. A and respondent LA are the only two members of Concorde,
each owing 50% of the Company, and are the sole patties to the Operating Agreement of
Concorde Apparel Company, L.L.C., effective as of August 25, 1994 (the “Operating |
Agreement”), a true and correct copy of which is annexed hereto as Exhibit A. The Company is
member-managed, with one manager nominated by each of the two members, (Operating

Agreement §§ 5.01, 5.02.) Since its formation, the two managers of Concorde have always been

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James Alperin (nominated by Straight A) and Lee Wattenberg (nominated by LA). (See

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Case 3:21-mc-00285-MEM Document 1-3 Filed 04/05/21 Page 3 of 14

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Operating Agreement § 5 .02). The responsibilities of the managers are set forth in Sections 5. 05
and 6.07 of the Operating Agreement as well as Exhibit A thereto,

3. The gross operating profits of Concorde for each fiscal year are to be allocated as
set forth in Section 9.03 of the Operating Agreement. In tum, Section 9.04 of the Operating
Agreement sets forth the mechanisms for fiscal year distributions to Concorde’s members, with

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certain amounts are to be paid on a current basis (see Section 9.04(a)) and the remainder of gross

operating profit to be paid after the close of such fiscal year (see Section 9.04(b)). Specifi ically,
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thereafter, make the remaining distributions of gross Operating profits.

Section 9.04(b) requires the members to endeavor to agree on the Company’s financial

statements within ninety (90) days of the conclusion of a given fiscal year and, promptly

4, Concorde’s 2018 fiscal year concluded on December 31, 2018.

5. While, internally, Concorde’s financial statements were ready on February 27,
2019, at LA’s request, Concorde’s independent accounting firm did not perform its annual |
review of such financial statements until some months later. :

6. On July 16, 2019, Concorde’s accountant, Eric Davis of Ginader, Jones & Co,
LLP, sent Messrs. Wattenberg and Alperin an email attaching both (i) a draft of Concorde’s 201 8

reviewed financial statements; and (ii) a “calculation of the Company’s allocation of its Grosd

Profit per the Concorde Operating Agreement.” A true and cotrect copy of such email with |

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attachments is annexed hereto as Exhibit B. Without providing a substantive reason, Mr.

Wattenberg, on behalf of LA and in bad faith, indicated he would not “sign arep letter’ and |
obscurely stated that he did not “agree with numbers as presented.” See Exhibit B, Despite io
(2) follow-up emails from Mr. Alperin, Mr. Wattenberg would not commit in writing to that

which he and LA disagreed with or the reasons therefor. See id.

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Case 3:21-mc-00285-MEM__Document.1-3 Filed 04/05/21 Page 4 of 14

 

7. As Operating Agreement Section 6.07(a) and Exhibit A thereto make clear,
however, Mr. Alperin is solely responsible for Concorde’s “Accounting and Bookkeeping.”
Concorde therefore issued its fiscal year 2018 financial statements on September 15, 2019, when
it could no longer wait given 2019 tax deadlines. A true and correct copy of Concorde’s 2018
Financial Statements with accompanying Independent Accountant Review Report are annexed
hereto as Exhibit C. While LA has not made any substantive objection to such financial
statements, Mr. Wattenberg has nonetheless refused to authorize the distribution of the
Company’s remaining gross profits as provided in Sections 9.03 and 9.04 of the Operating
Agreement.

8. Mr. Wattenberg’s unilateral refusal is part of what has unfortunately become a
pattern of obstruction and delay in a bad faith attempt to coerce Straight A into changing the way
Concorde’s gross operating profits are allocated in Section 9.03 of the Operating Agreement. In
fact, LA and Mr. Wattenberg seek to enrich themselves by either short-changing Straight A of its
fair share of Concorde profits or, alternatively, acquiring Straight A’s membership| interests well

below market value. |

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9. Irrespective of Mr. Wattenberg’s wish list, Straight A is entitled to prompt
payment of its share of Concorde’s gross profits per the clear and unambiguous terms of the

:

Operating Agreement.

THE PARTIES
10. Claimant Straight A is a limited partnership organized under the laws of the
Commonwealth of Pennsylvania. James Alperin manages the general partner of Sttaight A.

Alperin is also the Concorde manager nominated by Straight A.

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Case 3:21-mc-00285-MEM Document 1-3 Filed 04/05/21 Page 5 of 14

 

 

11. Respondent LA is, upon information and belief, a business corporation that was
formerly incorporated under the laws of the State of New York. Claimant has been unable to
determine whether LA is currently incorporated and, if so, in which jurisdiction. Lee
Wattenberg is, upon information and belief, the president of LA and signed the Operating

Agreement on its behalf in his capacity as president. Wattenberg is also the Concorde manager

nominated by LA. |

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KEY TERMS OF THE OPERATING AGREEMENT _

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12, Section 5.05 of the Operating Agreement mandates that Concorde’s managers

“perform their managerial duties in good faith, in a manner they reasonably believe to be in the

best interests of the Company.”
13. | Checks drawn on the Company’s bank accounts require the signature of both

managers, as provided in Section 5,06 of the Operating Agreement:

5.06. Bank Accounts. The Managers may from time to time open
bank accounts in the name of the Company, and the Managers
shall, except as herein set forth, be the sole signatories thereon,
unless the Members, by unanimous vote, determine otherwise. The
signatures of both Managers will be required on all checks. drafts,
or withdrawals therefrom. Notwithstanding the foregoing, a
Manger can sign checks without the other Manager's signature for
prior approved purchase orders or other invoices or bills pre-
approved by the other Manager.

 

(Emphasis added.)
14. Section 6.07 identifies certain services to be provided by each of the managers of

Concorde. Pursuant to Section 6.07(a), Straight A may designate to Alperin, Inc. (now known as
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Case 3:24-me-90285-MEM—Document+-3—Fited- 04/05/24 Page 6 of 14

Astro Apparel, Inc. (“Astro”)) and/or other providers Straight A’s responsibility to “bear all costs

and expenses of shipping and administration.”!

15. The profits of Concorde are allocated as set forth in Section 9.03 of the Operating

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Agreement: : i

be determined for each fiscal year. The gross operating profit shall
equal the gross revenues of the Company, minus all costs and
expenses normally taken into account in determining net income,
other than the costs and expenses borne by Straight A and LA

pursuant to sections 6.07(a) and (b). The gross operating profit
shall be allocated in the following order of priority:

9.03. Profits. The gross operating profit of the Company shall |

(i) first, five percent of net sales as a reserve for profits, to

the Members in accordance with their respective Shares of Total
Capital;

provided pursuant to section 6.07(a), an amount equal to 6% of net
sales;

(iii) third, to LA, in respect of the services provided

(ii) second, to Straight A, in respect of the services |
pursuant to section 6.07(b), $546,000; |

(iv) fourth, to Straight A, in respect of the services provided
pursuant to section 6.07(a), an amount equal to 2% of net sales; |

(v) fifth, any remaining gross profit shall be allocated 10%
to Straight A and 90% to LA. i

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' Straight A has, in fact, provided the services to Concorde contemplated by Section lh through

Astro. Because Astro provided the services, there have been occasions were Straight A.
instructed Concorde to pay Astro directly. |
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Case 3:21-mc-00285-MEM Document 1-3 Filed 04/05/21 Page 7 of 14

 

 

16. Distributions are to be paid by Concorde pursuant to Section 9.04 of the

Operating Agreement:

9.04 Distributions. (a) The Company shall pay on a current
(weekly) basis the following amounts to the Members:

(i) _ to Straight A, an amount equal to 6% of net sales (payable
in cash as net sales are accrued under generally accepted
accounting principles); and

(ii) to LA, $10,000 per week (effective as of July 1, 1995),
payable by wire transfer of immediately available funds on the first
business day of each week, in advance.

(b) Within 90 days after the end of each fiscal year of
the Company, the Members shall endeavor to agree on the
financial statements of the Company for such year. If they are
unable to agree within such time period, they shall invoke the
arbitration provisions of section 13.15, below. Promptly after the
financial statements have been agreed to, or promptly after the
arbitrator shal] have rendered his decision, the Company shall
distribute to each member the undistributed amounts of gross profit;
for the preceding year allocated in accordance with the allocation |
priorities set forth in section 9.03. In the event that the Company ;
shall have distributed to LA during the preceding fiscal year i
pursuant to section 9.04(a)(iii) an amount in excess of the amount |
to which it was allocated under section 9.03(i) and (iii), LA shall
repay such excess, without interest, to the Company within thirty j
(30) days after the financial statements have been agreed,

17. The Operating Agreement is “governed exclusively by its terms and by the laws

of the State of Delaware.” See Exhibit A, Section 13.03.
18. Amendments to the Operating Agreement may only be made by unanimous

written consent of all of Concorde’s members. See Exhibit A, Section 13,05.

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Case 3:21-mc-00285-MEM Documenti1-3 Filed 04/05/21 Page 8 of 14

 

 

 

AGREEMENT TO ARBITRATE

19. Pursuant to Section 13.15 of the Operating Agreement, the members agreed to

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submit all disputes relating to the operation of Concorde to binding arbitration. Section 13.15

provides, in relevant part; |
13.15 Arbitration. Without limiting the ability of a Member to |
give a notice of withdrawal at any time, the Members agreeto
submit to binding arbitration in accordance with this Section any |
issue relating to the operations of the Company as to which they |
cannot agree. Either Member may refer an issue to arbitration after!
it shall have given written notice to the other that the issue will be
submitted to arbitration unless the issue has been resolved within a
period of not less than ten (10) days from the date of the notice.

20. By letter dated November 20, 2019, a true and correct copy of which is annexed

 

hereto as Exhibit D, Straight A gave LA written notice that if undistributed amounts of gross

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profit were not paid (including the amounts owed in respect of the services Astro, as Straight A’s

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designee, provided Concorde pursuant to Section 6.07(a)), Straight A would comnlence

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arbitration. As set forth throughout this Statement of Claim, the issue has not been resolved as
Mr. Wattenberg and LA continue to refuse to authorize Concorde’s distribution of the gross

profit contractually owed to Straight A in the amount of at least $393,988.38.

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ADDITIONAL FACTS
21. Astro (Straight A’s designee to perform “shipping and administration” services
pursuant to Section 6.07(a) of the Operating Agreement) was established by Mr. Alpen as a
“hub” operation to manage “back-end” activities of several selling and merchandising
companies. Mr. Alperin and Astro were successful in this endeavor, with Astro experiencing

many efficiencies of scale due to the “hub’s” numerous “spokes.” |

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22. In the past, when Straight A received less of Concorde’s gross profit than it was

entitled to receive pursuant to Sections 9.03(ii) and 9.03(iv) of the Operating Agreement, Astro’s

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Case 3:21-mc-00285-MEM Document 1-3 Filed 04/05/21 Page 9 of 14

efficiencies of scale mitigated against Straight A being short-changed. Effectively, in 2017 and
prior years Straight A ended up providing Concorde (and, by extension, LA) more than it was
entitled to under the contract. Of course, doing so was never, and is not now, an obligation of
Straight A. Conversely, it remains Concorde’s obligation to distribute to Straight A its.
contractual share of gross operating profit pursuant to the terms of the Operating Agreement.
23. By late 2017 the non-Concorde businesses that Astro serviced were sold off or

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closed, eviscerating Astro’s economies of scale. Said another way, Astro lost its “spokes.” At
that point, Mr. Alperin took the proactive step of informing Mr. Wattenberg that Straight A
would no longer be in a position to take less than it is entitled to receive. Mr. Alperin also
suggested a number of alternative courses of action for Concorde and its business,

24. Since that time, Concorde — and by extension LA — have continued to benefit
from Astro’s services. Unfortunately, LA and Mr. Wattenberg are now blocking the distribution
of Straight A’s contractual share of Concorde gross profits — for no other reason than an
avaricious desire to renegotiate the contract or otherwise acquire Straight A’s share of Concorde

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for far less than it is worth. |

25. At bottom, Concorde has failed to make required member distributions in
accordance with Sections 9.03 and 9.04 of the Operating Agreement for fiscal year 2018, and
such distributions have remained unpaid during the entirety of calendar year 2019 Concorde has
failed to make such distributions of gross profits because Wattenberg, in bad faith; refuses to

sign the checks authorizing such payments, which require the signatures of both of the

Company’s managers. |

 

2 For example, in 2017, Straight A should have been paid another $324,822 by Concorde;
instead LA inequitably benefitted.

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Case_3:21-mc-00285-MEM Document 1-3. Filed_04/05/21. Page 10 of 14

 

26. With 2019 now coming to a close, LA and Wattenberg’s bad faith conduct will

only be exacerbated as additional gross operating profits will come due for payment to Straight

A.

FIRST CLAIM FOR RELIEF

 

27. Straight A repeats and realleges each of the allegations set forth in paragraphs 1

through 26 of this Statement of Claim as if set forth fully herein.

28. Straight A and LA are parties to a valid and enforceable contract, namely, the

Operating Agreement.

29. Straight A has performed, and continues to perform, all of its obligations under

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the Operating Agreement. i

30. LAhas breached the Operating Agreement by, among other things, failing to
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authorize the Company to distribute the gross profits of the Company as provided in Sections
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31. Asaresult of LA’s breaches, Straight A has suffered and continues to suffer

9.03 and 9.4 of the Operating Agreement.

damages in an amount to be determined at the hearing of this arbitration, but not less than

$393,988.38.

SECOND CLAIM FOR RELIEF |
32. Straight A repeats and realleges each of the allegations set forth in |paragraphs ]

through 31 of this Statement of Claim as if set forth fully herein. |

33. A covenant of good faith and fair dealing is implied in all contracts, including the

Operating Agreement.

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Case 3:21-mc-00285-MEM Document 1-3 Filed 04/05/21 Page 11 of 14

 

 

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34. In the context of the Operating Agreement, there is an implied obligation for each
of the managers appointed by the members to sign the checks necessary for the operations of the
Company.

35. LA has breached the implied covenant of good faith and fair dealing by, among
other things, failing to act in good faith to authorize the checks necessary for the Company to
distribute gross profits as provided in Sections 9.03 and 9.04 of the Operating Agreement and by

refusing to authorize such checks on the basis of improper motives or to gain advantage in

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negotiations with Straight A.

36. As aresult of LA’s breaches, Straight A has suffered and continues to suffer
damages in an amount to be determined at the hearing of this arbitration, but not less than
$393,988.38. |

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DEMAND
WHEREFORE, Claimant Straight A demands that the arbitrator render an award in
favor of Straight A and against Respondent LA: :
A. Declaring that Respondent LA Apparel, Inc. is in breach of the Operating
Agreement; |

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B. Ordering Respondent LA Apparel, Inc. to direct Lee Wattenberg, in his capacity

as a manager of Concorde Apparel, L.L.C., to authorize and sign all checks necessary! to make

distributions of the gross net profits of Concorde Apparel, L.L.C. for the fiscal year 201 8 to the

members of the Company as provided in Sections 9.03 and 9.04 of the Operating Agreement;
and |

C. Ordering Respondent LA Apparel, Inc. to direct Lee Wattenberg, in Ne capacity

as a manager of Concorde Apparel, L.L.C., to authorize and sign all checks necessary to make

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Case 3:21-mc-00285-MEM Document 1-3 Filed 04/05/21 Page 12 of 14

 

 

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distributions of the gross net profits of Concorde Apparel, L.L.C. for the fiscal year 2019 and all

future fiscal years to the members of the Company as provided in Sections 9.03 and 9.04 of the
Operating Agreement and;
D.

Awarding Claimant Straight A: (i) pre-award interest on its share of Concorde’s

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undistributed gross operating profit from September 15, 2019 forward, (ii) its costs of this

arbitration, and (iii) its attorneys’ fees; or, in the alternative,

E. Awarding Claimant Straight A Company, LP damages in the amount of

$393,988.38, together with pre-award interest thereon from September 15, 2019, attorneys” fees

and arbitration costs.

Dated: New York, New York ;
December 31, 2019

WARSHAW BURSTEIN, le

/s/ Thomas Filardo
Thomas Filardo }
575 Lexington Avenue

New York, New York 10022
(212) 984-7700
Attorneys for Claimant
Straight A Company, LP

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Case 3:21-mc-00285-MEM Document 1-3 Filed 04/05/21 Page 13 of 14

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ARBITRATION | INTERNATIONAL CENTRE, COMMERCIAL ARBITRATION RULES
ASSOCIATION" DEMAND FOR ARBITRATION

For Consumer or Employment cases, please visit www.adr.org for appropriate forms.

 

You are hereby notified that a copy of our arbitration agreement and this demand are being filed with the American Arbitration

Association with a request that it commence administration of the arbitration. The AAA will provide notice of your opportunity to file
an answering statement. i

 

Name of Respondent: LA Apparel, Inc,

 

Address: 55 West 39th Street, 1 1th Floor

 

City: New York State: New York [=] | Zip Code: 10018
Phone No.:; 212-307-7848 Fax No.:

 

 

 

 

Email Address: lee@adolfo.com

 

Narne of Representative (if known); Unknown

 

 

Name of Firm (if applicable): |
Representative's Address:

 

 

 

 

 

City: State: Select... Zip Code:
Phone No.: Fax No.: :
Email Address:

 

The named claimant, a party to an arbitration agreement which provides for arbitration under the Commercial Arbitration Rules of
the American Arbitration Association, hereby demands arbitration,

 

Brief Description of the Dispute:

Dispute among members of an LLC regarding distributions of profit, See accompanying Statement of Claim of Claimant Straight A Company,
LP for a full recitation of the claims asserted to date.

 

Dollar Amount of Claim: $ at least $393,988.38

 

Other Relief Sought: Wi Attorneys Fees Wi Interest Wi Arbitration Costs O Punitive/Exemplary
01 Other:

 

Amount enclosed: $ 2,200.
In accordance with Fee Schedule: Wi Flexible Fee Schedule O Standard Fee Schedule

Please describe the qualifications you seek for arbitrator{s) to be appointed to hear'this dispute:
Former Judge familiar with operating agreements. Some familiarity with the Delaware Limited Liability Company Act a plus.

 

 

Hearing locale: Scranton, PA
(check one) Hl Requested by Claimant [1 Locale provision included in the contract

 

Estimated time needed for hearings overall: hours or 2 days

 

 

Please visit our website at www.adr.org if you would like to file this case online.
, AAA Case Filing Services can be reached at 877-495-4185.
 

Case 3:21-mc-00285-MEM

. AMERICAN INTERNATIONAL CENTRE
FOR DISPUTE RESOLUTION®
ASSOCIATION*

Document 1-3 Filed 04/05/21 Page 14 of 14

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COMMERCIAL ARBITRATION RULES
DEMAND FOR ARBITRATION

 

Type of Business:

Claimant: apparel-related

Respondent: apparel-related

 

Ate any parties to this arbitration, or their controlling shareholder or parent company, from different countries than each other?

No

 

Signature (may be signed by a representative):

Date:
12/31/19

 

 

Name of Claimant: Straight A Company, LP

 

 

 
